859 F.2d 155
    U.S.v.Wingender
    No. 88-5208
    United States Court of Appeals,Ninth Circuit
    Sept. 16, 1988
    
      1
      Appeal From: S.D.Cal.
    
    
      2
      AFFIRMED.
    
    
      3
      Decisions Without Reported Opinions' appearing in the Federal Reporter. The Ninth Circuit provides by rule that dispositions that do not meet specified criteria shall not be published, and that an unpublished disposition shall not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.  Ninth Circuit Rules, Rule 36-3, 28 U.S.C.A.)
    
    